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April 7, 2017
BY ECF
Honorable Magistrate Judge Steven M. Gold
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201
Re: Docl<et No. lS~cv-5724
Letter-Motion to adjourn Conference
Your Honor:

I am associated with Novo Law Firm, PC, and as such, am one of the attorneys who
represent Mr. Ortiz in the above referenced matter.

Please accept this letter-motion respectfully request a Stay in this case. In the alternative,
please accept this letter-motion respectfully requesting an adjournment of the initial conference
and discovery in this matter

I have contacted Mr. Brustein7 attorney for Defendants to this matter and he consents to
both the request and the alternative request

The reason for this motion is because the underlying criminal action has taken much
longer than anticipated In fact, it continues to this day. After the most recent telephone
conference with all parties and Your Honor, Plaintiff was given time to amend his Complaint
While preparing to do so, it became clear that there were many potential causes of action not yet
ripe, which may become viable after the criminal action concludes Plaintiff respectfully submits
that rather than amending his Complaint now only to have to amend again at a later time would
be a waste of the judicial economy and of expenses to this case with filing and service costs_
Additionally, Defendants would need to interpose an Answer each time the Complaint was
amended

Thus, Plaintiff believes that staying this matter until the criminal case is resolved would
result in a net gain of time, resources and the judicial economy. Plaintiff would respectfully
request that in the event this Honorable Court agrees and grants either a stay or an adjournment

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of this matter, that this would also include an extension of time to file an Amended Complaint
with a deadline to be set only alter the close of the criminal action. Of course, Plaintiff would
respectfully request that Defendants should then be afforded the same amount of time to
subsequently file their Answer to said Amended Complaint

The Court’s consideration of this request is greatly appreciated

 

CC.' V]A ECF.' to all parties

